                                      United States Bankruptcy Court
                                           District of Arizona
In re:                                                                                  Case No. 18-07947-EPB
ASHLYNN D MEDINA                                                                        Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0970-2           User: hughesl                Page 1 of 2                   Date Rcvd: Sep 26, 2018
                               Form ID: van122              Total Noticed: 37


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 28, 2018.
db             +ASHLYNN D MEDINA,    7425 E. PORTLAND ST.,    SCOTTSDALE, AZ 85257-4041
15136100        AZ DEPARTMENT OF ECONOMIC SECURITY,     OFFICE OF ACCTS RECEIVABLE & COLLECTIONS,     PO BOX 60,
                 PHOENIX, AZ 85001-0060
15118869       +Central Credit Services, LLC,    9550 Regency Square Blvd,     Suite 500A,
                 Jacksonville FL 32225-8169
15118871       +Cmpptnrs/colorado Inst,    Po Box 3176,    Winston Salem NC 27102-3176
15118872       +Colorado Student Loan/College Assist,     Attn: Bankruptcy,    1560 Broadway Ste 1700,
                 Denver CO 80202-5159
15118876       +Credit Systems, Inc.,    Attn: Bankruptcy,    1485 Garden Of The Gods Rd, Suite 120,
                 Colorado Springs CO 80907-3305
15118877        Delivery Finance Service, Llc,    Attn: Bankruptcy,    3710 W Greenway Road, Suite 131,
                 Scottsdale AZ 85254
15118878       +EQUIFAX,   P.O. BOX 144717,    Orlando FL 32814-4717
15118880       +EXPERIAN,   PROFILE MAINTENANCE,    P.O. BOX 9558,    Allen TX 75013-9558
15118881       +FedLoan Servicing,    Attention: Bankruptcy,    Po Box 69184,    Harrisburg PA 17106-9184
15118884       +Kenneth, Eisen & Associates, LTD,    Attn: Bankruptcy,    Po Box 7370,     Phoenix AZ 85011-7370
15118885       +MARICOPA COUNTY SUPERIOR COURT,    201 W. JEFFERSON ST.,     Phoenix AZ 85003-2243
15118887       +MCDOWELL MOUNTAIN JUSTICE COURT,    18380 N. 40TH ST.,    Phoenix AZ 85032-1446
15118886       +Mazda Amer Credit,    Attn: Customer Assistance Center,     Po Box 19734,    Irvine CA 92623-9734
15118890       +Security Service Credit Union,    P.O. Box 691530,    San Antonio TX 78269-1530
15118893       +TRANS UNION CORPORATION,    ATTN: PUBLIC RECORDS DEPT.,     555 W. ADAMS ST.,
                 Chicago IL 60661-3631
15118895       +US Deptartment of Education/Great Lakes,     Attn: Bankruptcy,    Po Box 7860,
                 Madison WI 53707-7860
15118896       +VERONICA A. HERRERA,    C/O MICHAEL J. FULLER, ESQ.,    3030 N. 3RD ST. STE. 200,
                 Phoenix AZ 85012-3044
15118897       +Wakefield & Associates,    Attn: Bankruptcy,    Po Box 441590,    Aurora CO 80044-1590

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr              EDI: QCFLORES.COM Sep 27 2018 05:03:00       CONSTANTINO FLORES,    PO BOX 95080,
                 PHOENIX, AZ 85070-5080
smg             EDI: AZDEPREV.COM Sep 27 2018 05:03:00       AZ DEPARTMENT OF REVENUE,    BANKRUPTCY & LITIGATION,
                 1600 W. MONROE, 7TH FL.,    PHOENIX, AZ 85007-2650
15118866       +EDI: AZDEPREV.COM Sep 27 2018 05:03:00       ARIZONA DEPARTMENT OF REVENUE,
                 1600 W. MONROE ST. 7TH FLOOR,     Phoenix AZ 85007-2650
15118865       +EDI: GMACFS.COM Sep 27 2018 05:03:00       Ally Financial,    Attn: Bankruptcy Dept,
                 Po Box 380901,    Bloomington MN 55438-0901
15118867       +EDI: BCSERVICES.COM Sep 27 2018 05:03:00       BC Services,    Po Box 1317,
                 Longmont CO 80502-1317
15118870       +Fax: 602-659-2196 Sep 27 2018 02:59:44       CHEXSYSTEMS,    ATTN: CONSUMER RELATIONS,
                 7805 Hudson Road, Suite 100,    WOODBURY MN 55125-1703
15118868       +EDI: CAPITALONE.COM Sep 27 2018 05:03:00       Capital One,    Attn: Bankruptcy,    Po Box 30285,
                 Salt Lake City UT 84130-0285
15118873       +EDI: WFNNB.COM Sep 27 2018 05:03:00       Comenity Bank/Express,    Attn: Bankruptcy Dept,
                 Po Box 182125,    Columbus OH 43218-2125
15118874       +EDI: RCSFNBMARIN.COM Sep 27 2018 05:03:00       Credit One Bank,    Attn: Bankruptcy,
                 Po Box 98873,   Las Vegas NV 89193-8873
15118875       +E-mail/Text: cscbk@creditservicecompany.com Sep 27 2018 01:28:47        Credit Service Company,
                 Attn: Bankruptcy,    Po Box 1120,    Colorado Springs CO 80901-1120
15118879       +E-mail/Text: bknotice@ercbpo.com Sep 27 2018 01:29:15        ERC/Enhanced Recovery Corp,
                 Attn: Bankruptcy,    8014 Bayberry Road,    Jacksonville FL 32256-7412
15118882       +E-mail/Text: bkynotice@harvardcollect.com Sep 27 2018 01:30:08        Harvard Collection,
                 Attn: Bankruptcy,    4839 N Elston Ave.,    Chicago IL 60630-2589
15118883        EDI: IRS.COM Sep 27 2018 05:03:00       INTERNAL REVENUE SERVICE,    P.O. BOX 21125,
                 Philadelphia PA 19114
15118888       +E-mail/Text: electronicbkydocs@nelnet.net Sep 27 2018 01:29:14        Nelnet,    Attn: Claims,
                 Po Box 82505,   Lincoln NE 68501-2505
15118889       +EDI: DRIV.COM Sep 27 2018 05:03:00       Santander Consumer USA,    Po Box 961245,
                 Ft Worth TX 76161-0244
15118891       +EDI: RMSC.COM Sep 27 2018 05:03:00       Syncb/care Credit,    C/o Po Box 965036,
                 Orlando FL 32896-0001
15118892       +EDI: RMSC.COM Sep 27 2018 05:03:00       Syncb/carecr,    C/o Po Box 965036,
                 Orlando FL 32896-0001
15118894       +EDI: ECMC.COM Sep 27 2018 05:03:00       US Dept of Education,    Attn: Bankruptcy,    Po Box 16448,
                 Saint Paul MN 55116-0448
                                                                                               TOTAL: 18

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                          TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
        Case 2:18-bk-07947-EPB Doc 16 Filed 09/26/18 Entered 09/28/18 21:57:46                         Desc
                             Imaged Certificate of Notice Page 1 of 4
District/off: 0970-2                  User: hughesl                      Page 2 of 2                          Date Rcvd: Sep 26, 2018
                                      Form ID: van122                    Total Noticed: 37


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 28, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 26, 2018 at the address(es) listed below:
              CONSTANTINO FLORES    trusteeflores@floreslawaz.com,cflores@ecf.epiqsystems.com
              SCOTT MICHAEL FORRESTER   on behalf of Debtor ASHLYNN D MEDINA scott@forresterlawpractice.com,
               stephanie@forresterlawpractice.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                            TOTAL: 3




        Case 2:18-bk-07947-EPB Doc 16 Filed 09/26/18 Entered 09/28/18 21:57:46                                                Desc
                             Imaged Certificate of Notice Page 2 of 4
FORM VAN−122
REVISED 08/01/2018



                             UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF ARIZONA

In re:                                                          Case No.: 2:18−bk−07947−EPB

    ASHLYNN D MEDINA                                            Chapter: 7
    aka ASHLYNN D PHELPS
    7425 E. PORTLAND ST.
    SCOTTSDALE, AZ 85257
    SSAN: xxx−xx−8213
    EIN:

Debtor(s)

                                               ORDER DISMISSING CASE

         The debtor(s) having failed to file a list of creditors in the proper format as required by Local Bankruptcy Rule
         1007−1.
         The individual debtor(s) having failed to file a Credit Counseling Certificate as required by Fed. R. Bankr. P.
         1007(b)(3).
         The debtor(s) having failed to pay the filing fee as ordered by the court.
         The debtor(s) having failed to timely file the schedules and statements required by Fed. R. Bankr. P. 1007.
         The debtor(s) having failed to timely file a Chapter 13 plan as required by Fed. R. Bankr. P. 3015.
         The debtor(s) having failed to timely submit the Statement of Social Security Number as required by Fed. R.
         Bankr. P. 1007(f).
         The individual debtor(s) having failed to file a Statement of Your Current Monthly Income and any additional
         forms as required by Fed. R. Bankr. P. 1007.
         The debtor(s) having failed to file a Declaration of Evidence of Employer's Payments as required by Local
         Bankruptcy Rule 1007−1.
         The debtor(s) having failed to file a Declaration Under Penalty of Perjury for Debtors Without an Attorney as
         required by Local Bankruptcy Rule 1007−1.
         The debtor(s) having failed to appear and be examined at the meeting of creditors as required by 11 U.S.C. §
         341.
         After an Order to Show Cause why this case should not be dismissed was issued.
         The trustee having moved to dismiss this case.
         The debtor(s) having moved to dismiss this case.
         The debtor(s) having failed to timely file all required Official Forms as indicated by the court.




                                             −− Order continued on 2nd page −−




    Case 2:18-bk-07947-EPB Doc 16 Filed 09/26/18 Entered 09/28/18 21:57:46                                       Desc
                         Imaged Certificate of Notice Page 3 of 4
   IT IS ORDERED that the above−captioned case be dismissed. Jurisdiction is retained over any matters arising
under 11 U.S.C. § 110.

   IT IS FURTHER ORDERED that any pending hearings, including any final hearing set on a motion for relief from
the automatic stay are vacated.
    IT IS FURTHER ORDERED that if the debtor wishes to reinstate this case, a motion for reinstatement must be
filed setting forth the reasons for the request.

   IT IS FURTHER ORDERED that even though this case has been dismissed, debtor(s) is/are required to pay all
outstanding fees due and owing to the court.

   IT IS FURTHER ORDERED that the Court shall not consider a motion for reinstatement of the case unless all fees
are paid in full or all required documents are filed.

   NOTICE IS ALSO GIVEN that the order was entered on the docket this date.

Date: September 26, 2018                                 BY THE COURT



Address of the Bankruptcy Clerk's Office:                HONORABLE Eddward P. Ballinger Jr.
U.S. Bankruptcy Court, Arizona                           United States Bankruptcy Judge
230 North First Avenue, Suite 101
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov




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